Case 1:21-cr-00175-TJK Document 782 Filed 05/02/23 Page 1of1

CO 109A - Rev. 3/2010

UNITED STATES DISTRICT AND BANKRUPTCY COURTS
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

VS. Civil/Criminal No.: 21-CR-175 (TJK)

ETHAN NORDEAN et al

NOTE FROM JURY

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